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 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,          )
                                        ) Cr. S-07-170
10           Plaintiff,                 ) Cr. S-07-289
                                        ) Cr. S-07-428
11      v.                              )
                                        ) STIPULATION AND ORDER
12   JUAN CAMACHO, et al                ) CONTINUING STATUS CONFERENCE
                                        ) AND EXCLUDING TIME UNDER THE
13                                      ) SPEEDY TRIAL ACT
             Defendant,                 ) (Aug 3, 2010 at 9:15 AM
14   ___________________________________) before Judge Karlton)
15
16          A status conference is now set for May 25 , 2010.
17     The Government has recently made a revised plea offer in this
18   case. The parties will be requesting that the court order a pre-
19   plea Pre-Sentence Report so the Defendant can evaluate the offer.
20
21      The Defendant is housed at the Butte County Jail in Oroville CA.
22   In order to resolve the case, Defendant, his counsel and an
23   interpreter must consider this offer.        For that reason, the parties
24   request the following stipulation be approved.
25        IT IS STIPULATED between the plaintiff, United States of
26   America and the Defendant, by and through their counsel, that the
27   status conference be continued to August 3, 2010 at 9:15 AM.
28                                         1
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 1
          It is further stipulated that time from the date of this
 2
     stipulation through Aug. 3, 2010 shall be excluded from the time
 3
     when trial must be commenced under the Speedy Trial Act because
 4
     the case is so unusual or complex within the meaning of the Speedy
 5
     Trial Act, and for defense preparation.        The parties stipulate that
 6
     these are appropriate exclusions within the meaning of Title 18,
 7
     U.S. Code Section 3161 (h) (7) (A) and (B) (ii) and (iv), and Local
 8
     Codes T2 and T4.
 9
     Dated May 20, 2010
10
         s/s CAROLYN DELANEY                      s/s J TONEY
11       Carolyn Delaney                           J Toney
     First Assistant U.S. Attorney              Attorney for Defendant
12
                                   ORDER
13
         Based on the stipulation of the parties and good cause
14
     appearing, the Court adopts the above stipulation in its entirety
15
     as its order.   The Court further finds for the reasons given that
16
     failure to allow this continuance would deny counsel time for
17
     effective preparation and that the ends of justice outweigh the
18
     interest of the public and defendants in a speed trial. SO ORDERED.
19
20 DATED: May 25, 2010
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28                                         2
